                         Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 1 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet I



                                            UNITED STATES DISTRICT COURT
                                                               Middle District of Pennsylvania
                                                                               )
               UNITED STATES OF AMERICA                                        )      JUDGMENT IN A CRIMINAL CASE
                                    V.                                         )
                        DAVID D. KLEPADLO                                      )
                                                                                      Case Number: 3:16-254-01
                                                                               )
                                                                               )      USM Number: 75433-067
                                                                               )
                                                                               )       Meredith Lowry, Esq. and Timothy Bergere, Esq .
                                                                               )      Defendant's Attorney
THE DEFENDANT:
ft1" pleaded guilty to count(s)          Four (4) and Sixteen (16)

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                           Offense Ended
33 U.S .C. § 1319(c)(4)             False Statements in Violation of Clean Water Act                           9/7/2015              4

18 U.S.C . § 1512(c)(2)             Tampering With a Witness                                                   9/7/2015              16



       The defendant is sentenced as provided in pages 2 through              _ _5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
li1 Count(s)    ~ 1,~2~,3--'-,_a_n_d_5_t_h_ro_u_.g'-h_1_5_ _ _ _ D is   ~ are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defeni:lant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                             10/28/2020




                                                                                             Malachy E. Mannion, U.S . District Judge
                                                                             Name and Title of Judge




                                                                             Date
                        Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 2 of 7
AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                   Judgment - Page - - - of   5
 DEFENDANT: DAVID D. KLEPADLO
 CASE NUMBER: 3:16-254-01

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  Time Served .




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at                                   D a.m .    D p.m.       on

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows :




          Defendant delivered on                                                        to

at - - - - -- - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                UNITED ST ATES MARSHAL


                                                                         By
                                                                                             DEPUTY UNlTED STATES MARSHAL
                         Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 3 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Crim in al Case
                        Sheet 3 - Supervised Release
                                                                                                      Judgment-Page _ _ _ of _ _ _ __
DEFENDANT: DAVID D. KLEPADLO
CASE NUMBER: 3:16-254-01
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 Three (3) years . This term consists of terms of One (1) year on Count 4 and three (3) years on Count 16, to run
 concurrently.




                                                        MANDATORY CONDITIONS
I.   You must not commit another federal , state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ll'.i The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C . §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution . (check if applicable)
5.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 4 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                                  2 _ _ or _ _ _5_ __
                                                                                                Judgment-Page _ _ _
DEFENDANT: DAVID D. KLEPADLO
CASE NUMBER: 3:16-254-01

                                        ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
       aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
I 3.   You must follow the instructions of the probation officer related to the conditions of supervision.
14.    You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
       fines or special assessments .

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 - - - -- - - - - - - -
                        Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 5 of 7

AO 245 B (Rev. 09/19)   Judgment in a Cri minal Case
                        Sheet 3B - Supervised Release
                                                                                                 Judgment -Page __3__ of         5
DEFENDANT: DAVID D. KLEPADLO
CASE NUMBER: 3:16-254-01

                                       ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall be placed on home detention with radio frequency electronic monitoring for a period of one year, as
 directed by the probation officer. During this time, the defendant shall remain at his place of residence except
 for employment, education , religious services, treatment, necessary shopping or other activities pre-approved by the
 probation officer. The defendant shall comply with the rules of the location monitoring program , shall maintain a telephone
 without any special features at his place of residence , and shall pay the daily cost of the location monitoring ;

 You must not use or possess alcohol and continue to attend Alcoholics Anonymous meetings; and

 You must participate in an alcohol abuse treatment program and follow the rules and regulations of that program . The
 probation office will supervise your participation in the program (provider, location , modality, duration , intensity, etc.) which
 could include an evaluation and completion of any recommended treatment;
                        Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 6 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment -   Page       4    of        5
 DEFENDANT: DAVID D. KLEPADLO
 CASE NUMBER: 3:16-254-01
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                 Fine                   AVAA Assessment*               NT A Assessment**
TOTALS            $    200 .00              $                           $                      $                              $



 D   The detennination of restitution is deferred until
                                                        -----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid. ·

Name of Payee                                                   Total Loss***                  Restitution Ordered            Priority or Percentage




TOTALS                               $                           0.00              $                     0.00
                                                                                       ----------

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U .S .C. § 36 I2(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C . § 3612(g).

D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the              D fine       D restitution .
      D    the interest requirement for the         D    fine    D restitution is modified as follows :

* Amy, Vicky, :ind Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for victims of Trafficking Act of2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23 , 1996.
                         Case 3:16-cr-00254-MEM Document 90 Filed 10/28/20 Page 7 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                          Judgment -   Page   - -5-   of       5
 DEFENDANT: DAVID D. KLEPADLO
 CASE NUMBER: 3:16-254-01

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ~      Lump sum payment of$         200.00              due immediately, balance due


              •    not later than                                  , or
              •    in accordance with
                                          •    C,
                                                     •    D,   •    E, or     D F below; or
B      •      Payment to begin immediately (may be combined with            • c,     OD,or       D F below); or
C      D Payment in equal            _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g. , months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal            _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e.g. , months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

E      D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. , 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; or

F      fill   Special instructions regarding the payment of criminal monetary penalties:
               IT IS ORDERED that the defendant shall pay to the Clerk, U.S. District Court, a special assessment of $100 on
               each of Counts 4 and 16, for a total of $200, due immediately. THE COURT FINDS that the defendant does not
               have the ability to pay a fine.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' lnmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                Joint and Several                 Corresponding Payee,
      (including defendant number)                         Total Amount                    Amount                           if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be a_pplied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (o) tine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (I 0) costs, mcluding cost of
prosecution and court costs.
